                      Case 2:10-cr-00042-TLN Document 252 Filed 07/08/15 Page
                                                                           Page       1 of 1
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)
                                                                              1 of 2 (Page 2 Not for Public Disclosure)


                                       UNITED STATES DISTRICT COURT
                                                                         for the
                                                            Eastern District of California

                    United States of America
                               v.                                            )
                                                                             )   Case No:        2:10CR00042-05-MCE
                    DARYL RICHARD SMITH                                      )
                                                                             )   USM No: 68867-097
Date of Original Judgment:                           05/16/2013              )
Date of Previous Amended Judgment:                                           )   David Porter, Assistant Federal Defender
(Use Date of Last Amended Judgment if Any)                                       Defendant’s Attorney

                   ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                            PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of          the defendant     the Director of the Bureau of Prisons        the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
              DENIED.        GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of        70               months is reduced to                  57                  .
                                               (Complete Parts I and II of Page 2 when motion is granted)




 Except as otherwise provided, all provisions of the judgment dated                            5/16/2013             shall remain in effect.
IT IS SO ORDERED.

Order Date:             6/9/2015
                    ___________________                              _____________________________________________________
                                                                                                         Judge’s signature

Effective Date:         11/1/2015                                    MORRISON C. ENGLAND, JR., CHIEF DISTRICT JUDGE
                    ___________________                              _____________________________________________________
                    (if different from order date)                                                     Printed name and title
